                23-22964-cgm            Doc         Filed 03/11/24      Entered 03/11/24 17:38:17                         Main Document
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Fill in this information to identify the case:

Debtor 1              Adrian Maurice Rowe

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                 District of New York
                                                                             (State)

Case number           23-22964-cgm



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             Lakeview Loan Servicing, LLC                        Court claim no. (if known):         10

Last four digits of any number you               XXXXXX6977                       Date of payment change:
use to identify the debtor’s account:                                             Must be at least 21 days after date of              4/1/2024
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any             $2,265.37

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 926.93                                      New escrow payment :          $ 944.39

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        %                             New interest rate:           %

             Current principal and interest payment:       $ _________                    New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                              Notice of Mortgage Payment Change                                                 page 1
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                                                                            Pg 2 of 8
 Debtor 1             Adrian Maurice Rowe                                                               Case number (if known) 23-22964-cgm
                     First Name Middle Name       Last Name


Part 4:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/A. Michelle Hart Ippoliti                                                                          Date      03/07/2024
     Signature

Print:          A. Michelle                                                    Hart Ippoliti               Title    Authorized Agent for Creditor
                First Name               Middle Name                           Last Name

Company         McCalla Raymer Leibert Pierce, LLC

Address         1544 Old Alabama Road
                Number      Street
                Roswell                          GA                             30076
                City                             State                          ZIP Code

Contact phone        678-281-6537                                                                          Email     Michelle.HartIppoliti@mccalla.com



            “This notice of payment change is being filed in the interest of completeness in the court record. In order to comply in good faith with FRBP
            3002.1(b), and to compensate the Debtor for the missed filed Payment Change Notice, the Debtor shall receive the benefit of the decrease and any
            differences in payments submitted shall be credited towards debtor’s payoff. Upon the new effective date debtor or the estate shall be solely
            responsible for the entire new payment amount until further adjustment”




Official Form 410S1                                Notice of Mortgage Payment Change                                                     page 2
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                                                       Bankruptcy Case No.: 23-22964-cgm
 In Re:                                                Chapter:             13
          Adrian Maurice Rowe                          Judge:               Cecelia G. Morris

                                   CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused a copy of the within NOTICE OF MORTGAGE
PAYMENT CHANGE to be filed and served in this bankruptcy matter on the following parties
at the addresses shown, by regular United States Mail, with proper postage affixed, unless
another manner of service is expressly indicated:

Adrian Maurice Rowe
75 Lackawanna Tr
Suffern, NY 10901

Scott J. Goldstein                       (Served via ECF at sjg@sgoldsteinlaw.com)
Law Offices of Wenarsky and Goldstein, LLC
410 Route 10 West
Ste 214
Ledgewood, NJ 07852

Thomas C. Frost, Trustee                        (Served via ECF at info@FrostSDNY13.com)
Chapter 13 Standing Trustee
399 Knollwood Rd, Suite 102
White Plains, NY 10603

United States Trustee                           (Served via ECF Notification)
Office of the United States Trustee - NY
Alexander Hamilton Custom House
One Bowling Green, Room 534
New York, NY 10004-1408

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       03/11/2024       By:    /s/A. Michelle Hart Ippoliti
                    (date)                 A. Michelle Hart Ippoliti
                                           Authorized Agent for Creditor
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